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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 IN RE:
                                                    CHAPTER 11
 DULUTH TRAVEL, INC.,
                                                    CASE NO. 18-54894-JRS
        Debtor.


                                  NOTICE OF HEARING

       PLEASE TAKE NOTICE that Duluth Travel, Inc. (“Debtor”) has filed a Motion
to Approve Settlement with John Lawless in Debtor’s bankruptcy case filed by John
Lawless, seeking an order pursuant to Bankruptcy Rule 9019 approving a compromise and
settlement of claims and disputes with John Lawless, which will result in the dismissal of
a lawsuit against Debtor, the dismissal of a lawsuit against Mr. Lawless, and as well as the
withdrawal of Mr. Lawless’ claims in the above-captioned case (“Motion”).

      Hearing will be held on the Motion in the U.S. Bankruptcy Court, Courtroom 1404,
75 Ted Turner Drive, S.W., Atlanta, Georgia, at 9:30 a.m. on the 18th day of October
2018.

        Your rights may be affected by the court's ruling on these pleadings. You should
read these pleadings carefully and discuss them with your attorney, if you have one in this
bankruptcy case. (If you do not have an attorney, you may wish to consult one.) If you do
not want the court to grant the relief sought in these pleadings or if you want the court to
consider your views, then you and/or your attorney must attend the hearing. You may also
file a written response to the pleading with the Clerk at the address stated below, but you
are not required to do so. If you file a written objection, you must attach a certificate stating
when, how and on whom (including addresses) you served the response. Mail or deliver
your response so that it is received by the Clerk at least three business days before the
hearing. The address of the Clerk's Office is: Clerk, U.S. Bankruptcy Court,75 Ted Turner
Drive, S.W., Room 1340, Atlanta, GA 30303. You must also mail a copy of your response
to the undersigned at the address stated below.




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      Dated: September 26, 2018.
                                      SMALL HERRIN, LLP
                                      Counsel to Debtor Duluth Travel, Inc.

                                       By:   /s/ Anna M. Humnicky
                                             Gus H. Small, GA Bar No. 653200
                                             Anna M. Humnicky, GA Bar No. 377850


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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 IN RE:
                                                CHAPTER 11
 DULUTH TRAVEL, INC.,
                                                CASE NO. 18-54894-JRS
       Debtor.


    MOTION FOR APPROVAL OF SETTLEMENT WITH JOHN LAWLESS

      COMES NOW Duluth Travel, Inc. (“Debtor”), the debtor and debtor-in-

possession in the above-captioned case, and files this Motion in the above-captioned case

and, pursuant to Bankruptcy Rule 9019, moves this Court for an Order approving the

proposed compromise and settlement (“Settlement”) with John Lawless, a former

employee of Debtor. The Debtor respectfully shows the Court as follows:

                              JURISDICTION & VENUE

                                          1.

      This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. § 1334.

                                          2.

      Venue is proper in the Northern District of Georgia pursuant to 28 U.S.C. §§ 1408

and 1409.

                               BACKGROUND FACTS

                                         3.

      On March 22, 2018, Debtor filed a petition for relief under Chapter 11 of Title 11,

United States Code, 11U.S.C. §§ 101 et seq. No Trustee has been appointed and Debtor



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continues to operate its business and manage its affairs as a debtor-in-possession in

accordance with 11 U.S.C. §§ 1107 and 1108.

                                          3.

       Debtor is a Georgia corporation, with its principal place of business located at 2860

Peachtree Industrial Blvd, Suite 1000, Duluth, GA 30097.

                                          4.

       Debtor operates a travel agency which provides services to federal and state

government entities/agencies, large corporations, and travel groups.

                                          5.

       Mr. Lawless is a former employee of Debtor.

                                            6.

       A dispute arose between Debtor and Mr. Lawless, which resulted in two pieces of

litigation – 1) on May 31, 2017, Duluth filed a civil action in the Superior Court of Forsyth

County, State of Georgia against Lawless instituting case number 17-cv-1031-3 (“Georgia

Action”); and 2) on August 16, 2017, Lawless filed a civil action in the Circuit Court of

the County of Fairfax Commonwealth of Virginia against Duluth and Salus instituting case

number 2017-11391 (“State Court Action”), which Duluth and Salus removed to the

United States District Court for the Eastern District of Virginia, instituting case number

1:17-cv-01406-CMH-JFA (“Virginia Action”).




                                            7.


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       On June 29, 2018, and July 2, 2018, Mr. Lawless filed a series of Proofs of Claim

in the above-captioned bankruptcy case (“Proofs of Claim”).

               BACKGROUND FACTS RELATED TO SETTLEMENT

                                             8.

       A settlement has been reached between Debtor and Mr. Lawless, which will resolve

the Georgia Action, the Virginia Action, and the Proofs of Claims and will provide releases

for Debtor, its owner Arthur Salus, and Mr. Lawless (“Settlement”). A true and correct

copy of the proposed Settlement Agreement between the parties is attached hereto as

Exhibit “A.”

                                      DISCUSSION

       “Compromises are favored in bankruptcy proceedings because they minimize

litigation and expedite the administration of the bankruptcy estate.” In re W.R. Grace &

Co., 2012 WL 310815 (D. Del. 2012). Settlement of controversies in the bankruptcy

context is governed by Federal Rule of Bankruptcy Procedure 9019, which provides in part

as follows:

       (a)     Compromise - On motion by the trustee and after notice and a hearing, the
               court may approve a compromise or settlement. Notice shall be given to
               creditors, the United States trustee, the debtor, and indenture trustees as
               provided in Rule 2002 and to any other entity as the court may direct.

Fed. R. Bankr. P. 9019(a). The Eleventh Circuit Court of Appeals has stated:

       When a bankruptcy court decides whether to approve or disapprove a proposed
       settlement, it must consider: (a) The probability of success in the litigation; (b) the
       difficulties, if any, to be encountered in the matter of collection; (c) the complexity
       of the litigation involved, and the expense, inconvenience and delay necessarily
       attending it; (d) the paramount interest of the creditors and a proper deference to
       their reasonable views in the premises.


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In re Justice Oaks II, Ltd., 898 F.2d 1544, 1549 (11th Cir. 1990). Courts consider these

factors in order to determine the fairness, reasonableness and adequacy of a proposed

settlement agreement. In re Chira, 567 F.3d 1307, 1312-13 (11th Cir. 2009). “A court must

determine that a settlement under Bankruptcy Rule 9019 is fair, equitable, and in the best

interests of the estate before it may approve a settlement.” In re BGI, Inc., 2012 WL

527350 (Bankr. S.D. N.Y. 2012). To decide a bankruptcy settlement motion, “[c]ourts

should canvass the issues and see whether the settlement falls below the lowest point in the

range of reasonableness.”        See Travelers Cas. & Sur. Co. v. Future Claimants

Representative, 2008 WL 821088 (D. N.J. 2008).

       The Debtor believes that the Settlement comports with the standards for approval of

bankruptcy compromises. The Settlement with Mr. Lawless would avoid litigation costs,

in that the litigation involves numerous disputed facts and certain complex issues of law

and fact. The Settlement would promote the Debtor’s effort to obtain confirmation of its

proposed Chapter 11 plan, conclude its bankruptcy case and make distributions to its

creditors pursuant to the terms of the proposed Chapter 11 plan.

       The Debtor believes that the Settlement is the best manner to resolve the disputes

with Mr. Lawless and that the Settlement brings the best result the Estate and its creditors.

The Debtor believes that the Settlement is in the best interests of the Estate and its creditors,

as well as that it meets the standards that apply to Bankruptcy Rule 9019.




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      WHEREFORE, the Debtor respectfully requests that this Court enter an Order:

      a) granting this Motion and approving the Settlement;

      b) authorizing the Debtor to enter into the Settlement Agreement with Mr. Lawless,

         which is attached as Exhibit A to the Motion; and

      c) granting the Debtor such other relief as is just and proper.

      This the 26th day of September, 2018.


                                         SMALL HERRIN, LLP
                                         Counsel to Debtor Duluth Travel, Inc.

                                         By:    /s/ Anna M. Humnicky
                                                Anna M. Humnicky
                                                Georgia Bar No. 377850
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                                          EXHIBIT A

                               SETTLEMENT_AGREEMENT

       THIS SETTLEMENT AGREEMENT (“Agreement”) is made and entered into on the
_______ day of _________________, 20___, (the “Effective Date”) by and between DULUTH
TRAVEL, INC., its officers, directors, shareholders, employees, attorneys and contractors
(“Duluth”); ARTHUR SALUS (“Salus”); and JOHN LAWLESS (“Lawless,” collectively, with
Duluth and Salus, the “Parties”).

                                      W I T N E S S E T H:


      WHEREAS, on May 31, 2017, Duluth filed a civil action in the Superior Court of Forsyth
County, State of Georgia against Lawless instituting case number 17-cv-1031-3 (the “Georgia
Action”); and

      WHEREAS, on August 16, 2017, Lawless filed a civil action in the Circuit Court of the
County of Fairfax Commonwealth of Virginia against Duluth and Salus instituting case number
2017-11391 (the “State Court Action”); and

         WHEREAS, on December 8. 2017, Duluth and Salus removed the State Court Action to
the United States District Court for the Eastern District of Virginia (the “District Court”)
instituting case number 1:17-cv-01406-CMH-JFA (the “Virginia Action”); and

       WHEREAS, on February 7, 2018, Lawless voluntarily dismissed Salus from the Virginia
Action; and

       WHEREAS, on February 21, 2018, the District Court dismissed Count III of the Virginia
Action against Duluth; and

         WHEREAS, on March 22, 2018, Duluth filed a bankruptcy petition under Chapter 11 of
title 11 of the United States Code in the United States Bankruptcy Court for the Northern District
of Georgia (the “Bankruptcy Court”) instituting case number 18-54894-jrs (the “Bankruptcy
Case”); and

       WHEREAS, on April 17, 2018, the District Court stayed the Virginia Action pending the
conclusion of the Bankruptcy Case; and

      WHEREAS, Lawless has filed Proof of Claim No. 7; Proof of Claim No. 8; and Proof of
Claim No. 9 against Duluth in the Bankruptcy Case (the “Proofs of Claim”), and

       WHEREAS, the Parties desire to resolve all claims they may have or may have had against
each other without the need of further litigation in this matter,




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      NOW, THEREFORE, for and in consideration of the foregoing premises, the covenants
and conditions herein contained, and other good and valuable consideration, the receipt and
adequacy of which is hereby acknowledged, the Parties agree to the following:

       1.     Dismissal of Georgia Action. Within ten (10) days of the approval of the
settlement contemplated by this Agreement by the Bankruptcy Court, Duluth shall dismiss the
Georgia Action in its entirety without prejudice by making the appropriate filing with the Clerk of
the Superior Court of Forsyth County, State of Georgia.

        2.      Dismissal of Virginia Action. Within ten (10) days of the approval of the
settlement contemplated by this Agreement by the Bankruptcy Court, Lawless shall Dismiss the
Virginia Action in its entirety with prejudice by stipulation of Lawless, Duluth, and Salus pursuant
to Rule 41 of the Federal Rules of Civil Procedure by making the appropriate filing with the Clerk
of the District Court.

       3.      Withdrawal of Proofs of Claim. Within ten (10) days of the approval of the
settlement contemplated by this Agreement by the Bankruptcy Court, Lawless shall withdraw the
Proofs of Claim in their entirety with prejudice by making the appropriate filing with the Clerk of
the Bankruptcy Court.

         4.     Release by Lawless. Lawless, for and on behalf of himself, his affiliates,
successors, transferees, assigns, contractors, subcontractors, agents, attorneys, employees,
insurers, and all of their heirs, executors, administrators, attorneys, successors, transferees,
employees, agents, and assigns (collectively, the “Lawless Parties”), fully and completely release
Duluth and Salus, together with their affiliates, successors, subsidiaries, parents, transferees,
assigns, contractors, subcontractors, officers, directors, shareholders, agents, attorneys,
employees, insurers, and all of their heirs, executors, administrators, attorneys, successors,
transferees, employees, agents, and assigns (collectively, the “Debtor Parties”), from and against
any and all claims, demands, liabilities, damages, or causes of action of any kind whatsoever,
whether legal or equitable, whether contingent or non-contingent, and whether known or unknown,
that arise from any act or omission that has occurred at any time prior to the date of the execution
of this Agreement. This release is not intended to nor does it preclude an action of law or equity to
enforce this Agreement.

       5.      Release by Duluth. Duluth, for and on behalf of itself and its affiliates, successors,
subsidiaries, parents, transferees, assigns, contractors, subcontractors, officers, directors,
shareholders, agents, attorneys, employees, insurers, and all of their heirs, executors,
administrators, attorneys, successors, transferees, employees, agents, and assigns (collectively, the
“Duluth Parties”), fully and completely release Lawless from and against any and all claims,
demands, liabilities, damages, or causes of action of any kind whatsoever, whether legal or
equitable, whether contingent or non-contingent, and whether known or unknown, that arise from
any act or omission that has occurred at any time prior to the date of the execution of this
Agreement. This release is not intended to nor does it preclude an action of law or equity to enforce
this Agreement.




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         6.     Release by Salus. Salus, for and on behalf of himself, his affiliates, successors,
transferees, assigns, contractors, subcontractors, agents, attorneys, employees, insurers, and all of
their heirs, executors, administrators, attorneys, successors, transferees, employees, agents, and
assigns (collectively, the “Salus Parties”), fully and completely release Lawless from and against
any and all claims, demands, liabilities, damages, or causes of action of any kind whatsoever,
whether legal or equitable, whether contingent or non-contingent, and whether known or unknown,
that arise from any act or omission that has occurred at any time prior to the date of the execution
of this Agreement. This release is not intended to nor does it preclude an action of law or equity
to enforce this Agreement.

       7.      Return of Duluth Property. Lawless represents and warrants that at various times
he has had certain property of Duluth in his possession (the “Duluth Property”). Lawless
represents and warrants that he has not given, turned over, or released to any other person or entity
any Duluth Property or forwarded to any other person or entity any electronically stored
information constituting Duluth Property. To the extent that Lawless has not returned any Duluth
Property, he shall return it to Duluth within ten (10) days of dismissal of the Georgia Action as
contemplated herein. To the extent any of the Duluth Property is stored electronically on devices
owned by Lawless, Lawless hereby agrees to permanently delete all such Duluth Property from
such devices and such deletion shall constitute compliance with Lawless’ obligations under this
paragraph 7 with respect to Duluth Property stored electronically on devices owned by Lawless.
Additionally, Lawless further represents that he will cease any use of the Duluth Property in any
way.

       8.      No Admission of Liability. It is understood and agreed that this Agreement is a
compromise of disputed claims, and that the considerations made are not to be construed as an
admission of liability on the part of the party or parties hereby released, by whom liability is
expressly denied.

       9.     Representations. Each party hereto represents that it has not conveyed, assigned,
or pledged any claims or rights released hereby to any third parties.

        10.      Non-Disparagement. Duluth and Salus on the one hand, and Lawless on the
other hand, hereby agree to not discuss the other Parties to this Agreement with any third parties
after the effective date hereof unless required by law to do so and/or ordered to do so by a court
of competent jurisdiction. Notwithstanding the above, it is understood and agreed that Lawless
may identify Duluth as a former employer as necessary with regard to his employment, and
Duluth may identify Lawless as a former employee as necessary with regard to its business. In
the event any such identification becomes necessary by either Party, such Party shall only offer
truthful factual information and no opinions to the other Party in the course of making such
identification.

       11.     Miscellaneous.

              (a)  Each signatory hereto warrants and represents that such signatory is duly
authorized and empowered to execute this Agreement has the full and complete authority to

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execute this document that that Party’s behalf and to bind the Party to the agreements contained
herein.

              (b)     Each of the Parties hereto represent that they have not conveyed, assigned,
or pledged any claims or rights released hereby to any third parties.

               (c)    The covenants, acknowledgements, representations, agreements and
obligations contained in this Agreement shall survive any other written agreement that may exist
between the Parties.

                 (d)    Whenever in this Agreement the Parties are named or referred to, the heirs,
executors, legal representatives, successors, successors-in-title, and assigns of such party shall be
included, and all covenants and agreements contained in this Agreement shall bind and inure to
the benefit of their respective heirs, executors, legal representatives, successors, successors-in-
title, and assigns, whether so expressed or not.

               (e)     This Agreement shall be governed by and construed in accordance with the
laws of the State of Georgia, without reference to the conflict of laws provisions thereof.

              (f)    The Agreement may be executed in multiple counterparts, each of which
shall be deemed an original, and all such counterparts together shall constitute one and the same
instrument.

               (g)     The terms of this Agreement may not be changed, modified, waived,
discharged, or terminated orally, but only by an instrument or instruments in writing, signed by
the party against whom the enforcement of the change, modification, waiver, discharge, or
termination is asserted.

                (h)    The terms of this Agreement are binding as to each and every party hereto,
their agents, successors, assigns, servants, employees, subsidiaries, affiliates, and trustees.

               (i)     Time is of the essence of this Agreement.

               (j)    The section headings are included solely for convenience of reference and,
in the event of any conflict between any section heading and the text of this Agreement, the text
shall control.

               (k)    A waiver by any of the Parties of any breach of this Agreement or any
provision of this Agreement shall not operate or be construed as a waiver of any other provision
of this Agreement or any subsequent breach by any of the Parties.

               (l)     The parties to the Agreement shall bear their own costs and attorney’s fees
in connection with this Agreement, all matters litigated between them, and the matters being
released by this Agreement. However, in the event of litigation relating to, arising out of, or
connected with a breach of this Agreement, the prevailing party shall be entitled to recover all
costs, expenses, and actual attorney’s fees incurred therein.

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        IN WITNESS WHEREOF, each of the Parties has caused this Agreement to be executed
as of the date first above written.

                                            DULUTH:



                                            By:________________________________
                                                  Arthur Salus, its CEO


                                            SALUS:



                                            ___________________________________
                                            ARTHUR SALUS

                                            LAWLESS:



                                            __________________________________
                                            JOHN LAWLESS




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